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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION 2UIBAPR-L PH li: Ob
CODY WRIGHT,
Plaintiff,
v. CASENO.: 6.1¥- CM" 522-ORL-ST-4RS
AYA HEALTHCARE, INC., d/b/a
HEALTHCARE SELECT,
Defendant.
/
COMPLAINT

COMES NOW, Plaintiff, Cody Wright, by and through the undersigned counsel, and sues
Defendant, AYA HEALTHCARE, INC., d/b/a HEALTHCARE SELECT, and in support thereof
respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.
CT CPA”).

INTRODUCTION

1. The TCPA was enacted to prevent companies like Defendant from invading
American citizen’s privacy and to prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 8. Ct. 740 (2012).

os “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256
scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at
night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give
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telephone subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v.
State Farm Bank, F.S.B., 746 F.3d 1242 (11" Cir. 2014).

4, According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one complaint to the FCC. There are thousands of complaints to the
FCC every month on both telemarketing and robocalls. The FCC received more than 215,000
TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers
Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,
(May 27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A 1 .pdf.

JURISDICTION AND VENUE

5. Jurisdiction and venue for purposes of this action are appropriate and conferred by
28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

6. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)@ii). See
Mims v. Arrow Fin. Servs., LLC, 8.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F-S.B.,
746 F.3d 1242, 1249 (11" Cir. 2014).

7. The alleged violations described herein occurred in Brevard County, Florida.
Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the
judicial district in which a substantial part of the events or omissions giving rise to this action

occurred,
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FACTUAL ALLEGATIONS

8. Plaintiff is a natural person, and citizen of the State of Florida, residing in Brevard
County, Florida.

9, Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d
1265 (11" Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11" Cir. 2014).

10. Defendant is a corporation which was formed in Florida with its principal place of
business located at 5930 Cornerstone Court West, Suite 300, San Diego, California 92121, and
which conducts business in the State of Florida, through its Registered Agent, Corporation
Service Company, 1201 Hays Street, Tallahassee, Florida 32301.

11. Defendant called Plaintiff approximately two hundred (200) times in an attempt to
sell the Plaintiff insurance.

12. Upon information and belief, some or all of the calls Defendant made to
Plaintiff's cellular telephone number were made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
pre-recorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter
“quto-dialer calls”). Plaintiff will testify that he knew it was an auto-dialer because of the vast
number of calls he received and because he heard a pause when he answered his phone before a
voice came on the line and he received pre-recorded messages from Defendant.

13. Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (321) ***-0510, and was the called party and recipient of Defendant’s calls.
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14. Defendant placed an exorbitant amount of automated calls to Plaintiff's cellular
telephone (321) ***-0510 in an attempt to reach an individual unknown to the Plaintiff.

15. Plaintiff is unaware how Defendant obtained Plaintiff's cellular telephone number
as Plaintiff has had the same phone number for the past ten (10) years.

16. Plaintiff does not currently have any account or business dealings with Defendant.

17. The auto-dialer calls from Defendant were initiated from phone numbers
including but not limited to: (877) 277-8797, and when that number is dialed, a live agent
answers and says, “Thank you for calling HealthCare Select.”

18. | On several occasions over the last four (4) years, Plaintiff instructed Defendant’s
agent(s) to stop calling his cellular telephone.

19. | On several occasions during the year of 2017, Plaintiff received multiple calls
from Defendant, held the line to be connected to a representative, was eventually connected to a
representative, asked how his number was obtained and when no explanation was given, Plaintiff
demanded to speak with a supervisor. Plaintiff was then connected with “Cody Harper” who
explained to Plaintiff that he was unable to get the phone calls to stop.

20. Each subsequent call Defendant made to Plaintiff was done so without the
“express consent” of the Plaintiff.

21. Each subsequent call Defendant made to Plaintiff was knowing and willful.
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22. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to individuals just as they did to Plaintiff's cellular telephone in
this case.

23. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice, just as they did to the Plaintiff's cellular telephone in this case,
with no way for the consumer, Plaintiff, or Defendant to remove the cellular telephone number.

24.  Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

25. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this Complaint.

26. Defendant has numerous complaints against it across the country asserting that its
automatic telephone dialing system continues to call despite being requested to stop.

27. | Defendant has had numerous complaints against it from consumers across the
country asking to not be called, however Defendant continues to call these individuals.

28.  Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff's
cellular telephone number removed from Defendant’s call list.

29. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

30. Not one of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).
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31. Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.

32. From each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon his right of seclusion.

33. | From each and every call without express consent placed by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of the occupation of his cellular
telephone line and cellular telephone by unwelcome calls, making the cellular telephone
unavailable for legitimate callers or outgoing calls while the cellular telephone was ringing from
Defendant’s call.

34. | From each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of his time.
For calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for
the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the cellular
telephone and deal with missed call notifications and call logs that reflect the unwanted calls.
This also impaired the usefulness of these features of Plaintiff's cellular telephone, which are
designed to inform the user of important missed communications.

35. Each and every call placed without express consent by Defendant to Plaintiff's
cellular telephone was an injury in the form of a nuisance and annoyance to the Plaintiff. For
calls that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even
for unanswered calls, Plaintiff had to waste time to unlock the cellular telephone and deal with
missed call notifications and call logs that reflected the unwanted calls. This also impaired the
usefulness of these features of Plaintiff's cellular telephone, which are designed to inform the

user of important missed communications.
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36. Each and every call placed without express consent by Defendant to Plaintiffs
cellular telephone resulted in the injury of unnecessary expenditure of Plaintiffs cellular
telephone’s battery power.

37. Each and every call placed without express consent by Defendant to Plaintiff's
cellular telephone where a voice message was left which occupied space in Plaintiff's cellular
telephone or network.

38. Each and every call placed without express consent by Defendant to Plaintiff's
cellular telephone resulted in the injury of a trespass to Plaintiff's chattel, namely his cellular
telephone and his cellular telephone services.

39. As aresult of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affected in a personal and individualized way by stress, distress and
aggravation.

COUNTI
(Violation of the TCPA)

40. Plaintiff fully incorporates and re-alleges paragraphs one (1) through thirty-nine
(39) as if fully set forth herein.

41. Defendant willfully violated the TCPA with respect to Plaintiff, specifically for
each of the auto-dialer calls made to Plaintiffs cellular telephone after Plaintiff notified
Defendant that Plaintiff wished for the calls to stop

42. Defendant repeatedly placed non-emergency telephone calls to Plaintiffs cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff's prior express consent in violation of federal law, including 47 U.S.C §

227(b\(1)(A) (iii).
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WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against AYA HEALTHCARE, INC., d/b/a HEALTHCARE SELECT, for statutory
damages, punitive damages, actual damages, treble damages, enjoinder from further violations of
these parts and any other such relief the court may deem just and proper.

Respectfully submitted,

/s/Frank H. Kerney, lll, Esquire
Frank H. Kerney, IJ, Esquire
Florida Bar #: 88672

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